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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF TEXAS
                                            HOUSTON DIVISION

     IN RE:                                                     §        CASE NO. 25-30155
                                                                §
     ALLIANCE FARM AND RANCH, LLC,                              §        (CHAPTER 11)
                                                                §
             DEBTOR                                             §
                                                                §
     IN RE:                                                     §        CASE NO. 25-31937
                                                                §
     ALLIANCE ENERGY PARTNERS, LLC,                             §        (CHAPTER 11)
                                                                §
             DEBTOR                                             §
                                                                §

     DECLARATION OF WILLIAM HOTZE IN SUPPORT OF APPLICATION OF THE
      OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR ENTRY OF AN
         ORDER AUTHORIZING THE EMPLOYMENT AND RETENTION OF
       DYKEMA GOSSETT, PLLC AS COUNSEL, EFFECTIVE AS OF MAY 13, 2025

           I, William Hotze, do state and declare as follows:

           1.       I am over the age of 21, of sound mind, and am competent to testify to all the matters

set forth below. I submit this declaration (the “Declaration”) in support of the Application of the

Official Committee of Unsecured Creditors for Entry of an Order Authorizing the Employment

and Retention of Dykema Gossett PLLC as Counsel, Effective as of May 13, 2025 (the

“Application”), filed contemporaneously herewith in these Cases.1 The matters stated in this

Declaration are within my personal knowledge. If I were called as a witness, I could and would

testify competently to the factual statements set forth herein. To the extent that information

disclosed herein requires supplementation, amendment, or modification upon Dykema’s

completion of further analysis or as additional information become available to it, a supplemental

declaration will be filed with the Court.


1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Application.

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         2.        I am an attorney licensed to practice law in the State of Texas and have been a

member in good standing of the Texas Bar since 2013. I am also admitted to practice before the

United States District and Bankruptcy Courts for the Western, Southern, Eastern and Northern

Districts of Texas.

         3.        I am member of the law firm of Dykema Gossett PLLC (the “Firm” or “Dykema”).

My office address is 5 Houston Center, 1401 McKinney Street, Suite 1625, Houston, TX 77010,

telephone: (713) 904-6900, and e-mail: whotze@dykema.com.              My State Bar Number is

24087754.

         4.        On May 13, 2025, the Committee retained Dykema as its counsel, subject to Court

approval. Dykema began rendering services to the Committee immediately following its selection

by the Committee.

         5.        Dykema comprises nearly 400 lawyers who practice in 14 offices throughout the

United States. The attorneys in Dykema’s Bankruptcy and Financial Restructuring group have

played significant roles in a wide array of chapter 11 cases across the country, including acting as

counsel for official committees of unsecured creditors in the following cases: In re Kalera, Inc.,

No. 23-90290 (Bankr. S.D. Tex. 2023); In re Connect Transport, Inc., No. 16-33971-hdh7 (Bankr.

N.D. Tex. 2016); In re Dune Energy, Inc., No. 15-10336 (Bankr. W.D. Tex. 2015); In Yellow Cab

Affiliation, Inc., No. 15-9539 (Bankr. N.D. Ill. 2015); In re Texas Rangers Baseball Partners, No.

10-43400 (DML) (Bankr. N.D. Tex. 2010); In re Gulf Fleet Holdings, Inc., No. 10-50713 (Bankr.

W.D. La. 2010); In re Deep Marine Holdings, Inc., No. 09-39313 (Bankr. S.D. Tex. 2009); In re

Encompass Services Corp., No. H-06-CV-0392 (Bankr. S.D. Tex. 2006); and In re AgriBiotech,

Inc., No. 00-10533 (Bankr. D. Nev. 2000). The cases listed above are a small sample of Dykema’s

experience representing official committees of unsecured creditors.

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         6.        Pursuant to section 327 of the Bankruptcy Code and Rule 2014(a) of the Federal

Rules of Bankruptcy Procedure, I make this declaration in support of the Application.

                                    I. GENERAL STATEMENT

         7.        Neither I, the Firm, nor any member, senior counsel, or associate thereof, insofar

as I have been able to ascertain, has any connection with the Debtors, their creditors, the Trustee

or any other parties in interest herein, or their respective attorneys and accountants, the U.S.

Trustee, or any person employed in the Office of the United States Trustee or any Bankruptcy

Judge currently serving on the United States Bankruptcy Court for the Southern District of Texas,

except as set forth herein.      Additionally, we are “disinterested persons” pursuant to 11 U.S.C.

§ 101(14), and hold no actual or potential conflicts, subject to the disclosures in section III below.

Described in section III are all presently known connections and relationships between Dykema,

on the one hand, and the Debtors, the Debtors’ creditors, the Trustee, any other party-in-interest,

their respective attorneys and accountants, the United States Trustee and any person employed in

the office of the United States Trustee on the other hand. In preparing this Declaration, Dykema

performed a review of the connections and relationships between Dykema and certain creditors of

the Debtors and other parties in interest. Dykema is continuing to review conflicts. To the extent

that I become aware of any additional relationships, I will promptly file a supplemental declaration.

Dykema will implement appropriate internal procedures to protect the interests of the Debtors in

connection with the representations and relationships described below.

                                      II.   SEARCH METHODS

         8.        The Firm has made the following investigation of its connections prior to

submitting this Declaration. We have utilized Dykema’s conflicts database management system

(the “System”), which is designed to reveal the potential for conflicts of interest and other

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connections to existing and former clients and to many thousands of third parties Dykema never

represented. An employee of the Firm, under my supervision, entered the names of the parties

provided by the Debtors through the Firm’s System. The parties entered in the Firm’s System with

respect to the Firm’s conflicts check in this Case are set forth on Schedule 1 attached hereto (the

“Potential Parties in Interest”).

         9.           Such results have been reviewed by me. Where any question arose, I contacted the

appropriate members of Dykema shown on the System report as having previously submitted

relevant connections information to the System. We have also researched relevant “hits” for the

information set forth above.           From such attorneys and these databases, we have obtained

information and guidance with regard to the particular connections reflected. We have completed

that analysis, and the results are discussed below. To the extent our search indicated Dykema has

performed services for any of the Potential Parties in Interest during the last 5 years, the identities

of such parties and Dykema’s relationships with such parties are set forth in Schedule 2, attached

hereto. Further each of the representations identified on Schedule 2 is wholly unrelated to the

Debtors and its Case.

               III.      THE CONNECTIONS CURRENTLY KNOWN TO DYKEMA

         10.          Dykema represents that, to the best of its knowledge, except as disclosed on

Schedule 2, Dykema knows of no fact or situation that would represent a potential or actual conflict

of interest for Dykema with regard to the Committee at this time.

         11.          To the extent that issues arise that would cause the Committee to be adverse to any

of Dykema’s clients and/or their affiliates such that it would not be appropriate for Dykema to

represent the Committee with respect to any such matters, the Committee will retain conflicts

counsel to represent the Committee with respect to those matters.

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         12.       To the best of my knowledge, information and belief after reasonable inquiry,

Dykema is disinterested withing the meaning of section 101(14) of the Bankruptcy Code, in that

neither I, Dykema, nor any of its members, special counsel or associates:

                   (a) are creditors, equity security holder, or insiders of the Debtors;

                   (b) are or within two years before the Petition Date were, a director, officer, or
                   employee of the Debtors; or

                   (c) have an interest materially adverse to the interest of the estate or of any class of
                   creditors or equity security holders, by reason of any direct or indirect relationship
                   to, connection with or interest in the Debtors or for any other reason.

         13.       It is possible that Dykema may have represented or may continue to represent

creditors or interest holders of the Debtors in wholly unrelated matters from time to time, but

Dykema is not representing and will not represent any such persons in this Case. To the extent

Dykema becomes aware of such representation, Dykema will file a supplement to this Declaration.

         14.       As part of its practice, Dykema appears in many cases, proceedings, and

transactions involving many different attorneys, counsel, accountants, financial consultants, and

investment bankers, some of which now or in the future may represent claimants and parties in

interest in this Case. I have advised the Committee that Dykema has not and will not represent

any such entities in relation to the Debtors’ Case and that Dykema does not have any relationship

with any such entities that would be adverse to the Committee or its interests in the matters upon

which Dykema is to be employed.

         15.       Dykema has not received a retainer in this Case. Dykema will represent no entity

other than the Committee in these chapter 11 cases.

         16.       Dykema recognizes, and takes very seriously, its continuing responsibility to be

aware of, and to further disclose, any relationship or connection between it and other parties-in-

interest to the Debtor’s bankruptcy estate as they appear or become recognized during the Case.
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Accordingly, we reserve the right to, and shall supplement this disclosure if necessary as more

information becomes available to us.

                                       IV.    COMPENSATION

         17.       The Committee understands that Dykema intends to seek compensation for

professional services rendered in connection with the Debtor’s case, subject to the Court’s

approval, and in compliance with the applicable provisions of Subject to Court approval and in

accordance with section 330(a) of the Bankruptcy Code, compensation will be payable to Dykema

on an hourly basis, plus reimbursement of actual, necessary expenses incurred by Dykema. Below

are the primary attorneys and paraprofessional within Dykema who will represent the Committee

and their respective discounted hourly rates:

         Name                                Title                     Hourly Rate
         William Hotze                       Member                    $675
         Nicholas Zugaro                     Senior Counsel            $630




         18.       From time to time, other attorneys and paralegals from Dykema may serve the

Committee in connection with the matter.

         19.       Dykema has advised the Committee that the hourly rates set forth above are subject

to annual increases in the normal course of Dykema’s business. In the event of any such increase,

Dykema will provide the U.S. Trustee and the Committee with written notice of any such increase

and file a supplemental affidavit (a “Supplemental Affidavit”) with the Court. Any Supplemental

Affidavit will explain the basis for the requested rate increase in accordance with section

330(a)(3)(F) of the Bankruptcy Code.

         20.       It is Dykema’s policy, in all areas of practice, to charge its clients for additional

expenses incurred in connection with the client’s case. The expenses charged to clients include,
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among other things, postage in excess of $2.50 and express mail charges, special or hand delivery

charges, internal photocopying charges, external photocopying charges at the actual cost charged,

print charge for documents in excess of 20 pages at $0.15 per page, travel expenses, expenses for

“working meals,” and computerized research. Dykema does not charge for long distance calls

other than conference calls. Dykema does not charge for incoming or outgoing telecopier services.

Otherwise, Dykema will charge the Committee for expenses in a manner and at rates consistent

with charges made generally to Dykema’s other clients and consistent with this Court’s rules and

the applicable U.S. Trustee guidelines.

         21.       No agreement exists, nor will any be made, to share any compensation received by

Dykema for its services of behalf of the Committee with any other person or firm.

         22.       The foregoing constitutes the verified statement of the person to be employed,

required under Bankruptcy Rule 2014.

         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury on this 12th day of June,

2025, that the foregoing statements are true and correct.

                                                       By: /s/ William Hotze
                                                              William Hotze




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